Case 2:05-cr-20021-BBD Document 54 Filed 07/07/05 Page 1 of 2 PagelD 55

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UNITED STATES OF AN|ER|CA U'EW|‘]L£)§ §§SY§»IP?C{%H

P|aintiff

VS.
CR. NO. 05-20021-D

JASON PH|LL|PS,
DEREK WR|GHT,
and QUENTIN WR|GHT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3l 9th Floor of
the Federal Bui|ding, Memphis, TN.

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

rr ls so oRDERED this § J"‘ day of July, 2005.

   
  
 

RN|CE B ONALD
|TED STATES D|STR|CT JUDGE
T`his document entered on the docl<e s e `

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UNITED sATE DISTRICT COUR - W"'RNT DISTRCT OFTENNESSEE

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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Lawrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/lemphis7 TN 38117--571

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 .1 efferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

